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AO 450 (SCD 04/2010) Judgment in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                for the
                                                       District of South Carolina


                  Winston Tyler Hencely
                            Plaintiff                              )
                            v.                                     )       Civil Action No.      6:19-cv-00489-BHH
   Fluor Corporation; Fluor Enterprises, Inc.; Fluor               )
   Intercontinental, Inc.; Fluor Government Group                  )
                  International, Inc.                              )
                           Defendant


                                                  JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

 other: partial judgment on the pleadings is hereby granted on behalf of the defendants Fluor Corporation; Fluor
Enterprises, Inc.; Fluor Intercontinental, Inc.; Fluor Government Group International, Inc and the case is dismissed in
toto.


This action was (check one):


 decided by the Honorable Bruce H. Hendricks.


Date: August 13, 2021                                                     CLERK OF COURT


                                                                          s/Angela Lewis, Deputy Clerk
                                                                                      Signature of Clerk or Deputy Clerk
